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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA,           :
                                     :
                          Plaintiff, :
                                     :                      Criminal No. 11-23 (SRC)
                v.                   :
                                     :                               ORDER
 NELSON OTERO and MAXCIME            :
 CAGAN,                              :
                                     :
                        Defendants. :
                                     :


CHESLER, District Judge

       This matter having come before the Court on the April 27, 2012 letter request, received

by this Court on May 1, 2012, in which pro se Defendant Nelson Otero (“Otero”) asks for

additional time to file an additional submission in connection with his motion for judgment of

acquittal; and Plaintiff the United States of America (the “Government”) having filed its

opposition to Otero’s motion on May 9, 2012; and the Court finding there is good cause to grant

Otero additional time as requested; therefore,

       IT IS on this 11th day of May, 2012,

       ORDERED that pro se Defendant Nelson Otero shall file his response to the

Government’s opposition to his motion for judgment of acquittal on or before June 6, 2012.

                                               s/Stanley R. Chesler
                                              STANLEY R. CHESLER
                                              United States District Judge
